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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
Madde District of ennsyl VAN IA
Division

a

Ndee O Reren ex AvA\

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Case No. 7 18Cu IA20

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [] Yes ae

__ FILED
VoekK Cowal NI Orreo w_ect a\ SCRANTON

Defendant(s)

(Write the full name of each defendant who is being sued. If the JUN 2 9 2 Of 8
names of all the defendants cannot fit in the space above, please y
write “see attached” in the space and attach an additional page PER .
with the full list cf names.)
DEPuTy
ERK

COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

 

 

 

Name Dud rw O (Bere
Street Address ,
City and County ZHOo Co alo ev KA
State and Zip Code

 

Telephone Number No cle P A ~_VSNO dR

E-mail Address

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A, If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

HA OSLS. 1483

B. If the Basis for Jurisdiction Is Diversity of Citizenship

 

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) aA re. € > Cy hey , is a citizen of the

State of (name) Pernws y Lua AA
+ 7 %

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of

 

the State of (name) p. nN iS) i| LAVA . Oris a citizen of
(foreign nation) .

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy~the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

ID Soren tS 34,000,000

1 q \
il. Statement of¥Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

 

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

| punitive money damages. _

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

| unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

 

 

 

Date of signing: TY eis
Signature of Plaintiff
Printed Name of Plaintiff A ad rf O'Rei en
| B. For Attorneys
| Date of signing:
. c ~~ —,
Signature of Attorney w) A 0. -Sé. \ ‘Trevn
a

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address
State and Zip Code

 

 

Telephone Number
E-mail Address

 

 

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STATEMENT OF CLAIM:ON 4/12/2018 I ANDRE O”BRIEN WENT TO
ADMISSIONS TO OBTAIN SOME PAPER WORK,AND I EXPLAINED TO
OFFICER ROBERT AXE THAT I NEEDED A WHEEL CHAIR,HE TOLD ME
NO,AND ANOTHER OFFICER OFFERED TO GIVE ME A WHEEL CHAIR
WHICH ROBERT AXE REFUSED ME.ONCE I GOT MY PAPER WORK I FELT
SOMETHING IN MY ANKLE SHIFT/MOVED,I ONCE AGAIN ASKED FORA
WHEEL CHAIR AND I WAS DENIED.SO I LEANED UP AGAINST THE
HOLDING TANK WINDOW,TO TRY AND RELIEVE THE PAIN IN MY ANKLE
»WHICH AT THIS TIME I WAS PUT HANDCUFFS.WHEN THE OFFICER
WENT TO MOVE ME MY ANKLE GAVE OUT.I LIFTED UP MY GOOD ANKLE
AND WAS CARRIED INFRONT OF FEMALE MEDICAL AND THROWN
AGAINST THE WALL,AND THAN I WAS SLAMED INTO THE ERC
CHAIR.AFTER I WAS STRAPPED INTO THE CHAIR THE OFFICER
STARTED TAKING OFF THE HANDCUFFS,BEFORE THE CUFF’S WAS OFF
THEY STATED I WAS RESISTING,I MADE NO MOVES TO RESIST, THE
OFFICER TOOK MY WRIST AND TWISTED AND BENT IT INWARDS |
STARTED SCREAMING THAT YOUR BREAKING MY RIST,AND ONE OF THE
OFFICER HEARED ME SCREAMING AND CAME FROM AROUND THE
CORNER TO INVESTIGATE WHAT WAS GOING ON WITH ME,AND
OBSERVED THE ILLEGAL POSITION THAT THEY HAD ME IN OFFICER
“MARKS” HE TRIED TO HURRY UP AND HAVE ME SECURED INTO THE
CHAIR CORRECTLY AND WHICH OFFICER MARKS DID.THEY TOOK ME TO
MEDICAL TO ASK ME WHAT WAS WRONG AND I TOLD THE DOCTOR
THAT MY WRIST WAS BROKE:HE THAN INFORMED ME THAT MY WRIST
WAS SWOLLEN BECAUSE THE CUFFS WAS TO TIGHT.OFFICER LOOSEN
ONE OF THE STRAPS ON MY RIGHT ANKLE FROM A PREVIOUS INJURY,I
WAS THAN WHEELED TO MY CELL AT WHICH POINT MY CLOTHING WAS
CUT OFF ME,AND SOMETHING WAS TIDE TO THE HANDCUFFS FROM
BEHIND,I WAS THAN PUT INTO MY CELL AND YANKED BACK TO THE
DOOR TO WHAT EVER WAS TIDE TO THE CUFF’S.NO WHITE SHIRT
SUPERVISOR WAS PRESENT TO OVERSEE MY SITUATION UNTIL AFTER
GOING TO MEDICAL.THE NEXT DAY BOTH MY WRIST WERE X-
RAYED,AND 4/16/2018 I WAS TAKEN TO WELLSPAN ORTHO URGENT
CARE AND MY LEFT WRIST WAS CASTED “FOUR WEEKS” AND THOSE
 

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FOUR WEEKS WERE UP IT WAS CASTED FOR AN ADDITIONAL FOUR
WEEKS.I HAVE NO FEELING IN MY LEFT THUMB,PAIN STILL IN MY LEFT
WRIST,I’M UNABLE TO SQUEEZE MY HAND INTO A FIST MOTION IN
BOTH HANDS,I ALSO NOW HAVE TO WALK WITH A CAIN,FROM WHEN
THE OFFICERS STEPPED ON MY ANKLE IN THE PROCESS OF TAKING OFF
MY HANDCUFFS FROM THE BACK.THE WHITE SHIRT WAS THERE AND
HAD A BODY CAM ON,AND I REQUEST THE VIDEO FOOTAGE BE
SUBPEONAED TO SUPPORT MY ALLEGATION,AND THE YORK COUNTY
PRISON HAVE ALL MEDICAL REPORTS TO WHAT WAS BROKEN
SPRAINED ETC.I SINCERELY ASK THE COURTS TO GRANT ME PUNITIVE
AND COMPENSATORY DAMAGES IN THE AMOUNT OF $3,000,000.AS A
RESULT OF THIS I HAVE NIGHT MARE’S,I TAKE PSYCHTROPIC
MEDICATIONS,AND THE PEOPLE THAT WERE REPONSIBLE UNDER THIS
CONSTITUTIONAL INJURY WAS ACTING UNDER THE COLOR OF STATE
LAW.THANK YOU VERY MUCH FOR HEARING MY COMPLAINT,AND IF
YOUR NEED ANYTHING ELSE PERSUAT TO THIS LITIGATION PLEASE
FEEL FREE TO CONTACT ME AT THE SAID ADDRESS ABOVE.

SINCERELY,

C.C.FILE:
 

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THIS DOCUMENT IS LEGALLY NOTARIZED BY THE UNDERSIGN AS TRUE AND CORRECT UNDER TITLE 28
U.S.C. SECTION 1746

x Onl ©'Baiex

SIGNATURE

C.C.FILE:
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YORK COUNTY PRISON

DISCIPLINARY REPORT
ADMINISTRATION SEGREGATION[_|

 

 

INMATE’S NAME Obrren Adie POUCH # Q300 25
INMATE’S HOUSING UNIT Lp DATE OF INCIDENT Viz/px TIME OF INCIDENT Q Lh tex POG
LOCATION OF INCIDENT WySSTONS

CHARGES

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CHARGE 2 Carine frac Abts or jatererer wih faciitky cove LaF
CHARGE 3 (LerAsiny tO gbey te opder A Sal mambo cope 30>

CHARGE 4 CODE
CHARGE 5 CODE

DESCRIPTION OF INCIDENT

Qn fhe abae dave ond oreo Ye
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# 230775 te _admitshs ty Soe the. hoch CEs Ange.
Lin obrren LAS Mbhed whth tty Shetlt€e fbb
otCheer attempted Ye efor Los Obrren back. fe
Cross italls, This f/m  stakd “ TC amt Gckby
wal Ii hng back" Thr ofAter ordered Yhfs Dey
to wllO bt Tm br Nn refused, They
wher hand  featrayits were alilled fe thes Fu,
Ais aeteers were _ estorbg Shs Lin he. Rhee,
fo Walid by [Ang has legs uf and diefihg al Ayr
welght Ths Zhan ALLS Plated Ge das She uel/ fron
hoths placed “Wn He  Enernenty eshte Chott

JRL #14 yfef'8

Signature of Officer preparing report Date report was prepared

Qcboet thee 850m

Print first and last Name, Clock # of reporting officer Time report was prepared
ad CAA
Form DR-1

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York County Prison - DISCIPLINARY REPORT (Additional Info.)

Disciplinary 4 - , )
Inmates Name: chvten, AAC Incident Date: Yel Time: ¢ sew 2.
’ a /

Type Info Reported:

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and tes refushg to Jet Chou Pale hiz
ponds tate the “ELC. Th Cher cause
multe ondere fe S&P reslhg bat Hts
Tea Nfuted ct ll orckels anol sjated ~ LU
Cateh VA all on the streexe Thix a. wm wid
Cully ¢ decured whth ng tarther kee,

 
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RE:ANDRE O” BRIEN #230875
3400 CONCORD RD. YORK PA.

17402 june 25, 2018 10F4 PAGES
-DB Document1 Filed 06/29/18 Page 12 of 12 ' $1,340
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935 Neth Wearinglen Queaue
PO. Bed U4

JSeorankon, PA 18501-1149
